

People v Rosas (2023 NY Slip Op 05235)





People v Rosas


2023 NY Slip Op 05235


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


SCI. No. 1873/19 Appeal No. 814 Case No. 2020-00900 

[*1]The People of the State of New York, Respondent, 
vSilvestre Rosas, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Marquetta Christy of counsel), and Kramer Levin Naftalis &amp; Frankel LLP, New York (Daria Rae Schieferstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Amir H. Khedmati of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Jeanine Johnson, J.), rendered December 9, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








